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FoR THE wEsTERN DISTRICT oF TENNESSEE USHAYBI PH E=EE
wEsTERN DIvIsION

 

 

WILFREDO LORA,

Plaintiff,
vs. NO. 04~2321-D/V
THOMAS HOLLENHORST,
WILLIAM FITZPATRICK, and,
TIMOTHY MCGRANT,

Defendants.

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ORDER TRANSFERRING CASE TO UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA AT ALEXANDRIA

 

Plaintiff Wilfredo Lora, Bureau of Prisons (“BOP”) inmate
registration number 42980-083, a federal prisoner who is
incarcerated at Federal Correctional Institution in Memphis,
Tennessee (“FCI-Memphis”), filed an irregular pro §§ complaint and
paid the filing fee. The Clerk shall record the defendants as
Thomas Hollenhorst, William Fitzpatrick, and Timothy McGrant.

Lora was convicted of conspiracy to distribute and possess
heroin and cocaine with the intent to distribute in the United
States District Court for the Eastern District of Virginia. He was
sentenced to 292 months imprisonment. United States v. Lora, 26
Fed. Appx. 149 (4th Cir. Dec. 13, 2001).

Lora files this civil complaint against Thomas Hollenhorst and
William Fitzpatrick, Assistant United States Attorneys, and Timothy
McGrath, Special Agent with the United States Drug Enforcement
Agency, alleging that they breached a written contract that Lora’s

“off the record debriefings” would not be used against him in a

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criminal proceeding. Lora contends the defendants “violated their
oath of office.” He requests that the Court determine whether the
defendants violated the agreement. Upon any determination that the
agreement was breached, he seeks order compelling the defendants to
void the agreement and expunge all of his testimony. He further
seeks a declaratory judgment stating that the defendants violated
their oaths of office.

Twenty~eight U.S.C. § l39l(e) provides, in relevant part, as
follows:

A civil action in which a defendant is an officer or

employee of the United States or any agency thereof

acting in his official capacity or under color of legal

authority, or an agency of the United States, or the

United States, may, except as otherwise provided by law,

be brought in any judicial district in which (l) a

defendant in the action resides, (2) a substantial parts

of the events or omissions giving rise to the claim

occurred . . . , or (3) the plaintiff resides if no real

property is involved in the action.
Plaintiff is incarcerated in this district and no real property is
involved in this action. However, whether the Court construes
Lora’s civil complaint as a contract action or one for declaratory
relief, it is clearly a backhanded attempt to mount a collateral
attack on his conviction.

Federal prisoners seeking collateral relief from a conviction
or sentence must seek relief through a motion to vacate under 28
U.S.C. § 2255. Charles v. Chandler, 180 F.3d 753, 755-56 (1999);
ln re Hanserd, 123 F.3d 922, 933 (Gth Cir. 1997); United v. Sarduy,
838 F.Zd 157, 158 (6th Cir. 1988)(challenge to proper sentence

calculation should be brought under § 2255, not Rules 32 or 35).

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See also United States v. Cerna, 1994 U.S. App. LEXIS 21901 at *2-3
(6th Cir. Oct. 4, l994)(district court has discretion to construe
motion erroneously styled as one under § 3582(c)(2) as a motion to
vacate under § 2255);1 United States v. Auman, 8 F.3d 1268, 1271
(8th Cir. 1993); Wood.v. United States, No. 91-2055, 1992 U.S. App.
Lexis 3053 (6th Cir. Feb. 25, 1992)(petition for a writ of error
coram nobis should be construed as motion under § 2255);2 Owens v.
Benson, 439 F. Supp. 943, 944 (E.D. Mich. l977)(the proper remedy
for a federal prisoner attacking his conviction or sentence is a
motion under § 2255). Cf. Capaldi v. Pontesso, 135 F.3d 1122, 1124
(6th Cir. 1998)(adopting per se rule that district court may not
consider a § 2255 motion while prisoner's direct appeal is pending
and affirming denial of habeas relief to prisoner whose direct
appeal was pending in Fifth Circuit).

Lora previously filed a motion to vacate his conviction under
28 U.S.C. § 2255, Lora v. United States, No. 03-670 (E.D. Va May
22, 2003), and also has sued these defendants for breach, of
contract, Lora v. Hollenhorst, et al., No. 03-449, No. 04-1184, 108
Fed. Appx. 101 (4th Cir. 2004). Furthermore, his application to
file a second or successive § 2255 motion was denied. ee United

States v. Lora, No. 04-6899, 112 Fed. Appx. 291 (4th Cir. 2004).

 

1 Although citation to unpublished Sixth Circuit precedents is

disfavored, this case is referred to in the absence of clear published case law
from this circuit "because it establishes the law governing the present action
and ’there is no [Sixth Circuit] published opinion that would serve as well.'"
Norton v. Parke, 892 F.2d 476, 419 n.7 (6th Cir. 1989).

2 See supra note 3.

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The Court is unable to access the decisions of the United States
District Court for the Eastern District of Virginia, Lora’s
district of conviction,r to determine is this action is duplicative
of Case No. 03-449 for breach of contract or whether it presents
issues previously determined in his motion to vacate and/or request
to file a successive motion.

Twenty-eight U.S.C. § 1406(a) states:

The district court of a district in which is filed a case

laying venue in the wrong division or district shall

dismiss, or if it be in the interest of justice, transfer

such case to any district or division in which it could

have been brought.
All events underlying this action occurred in the Eastern District
of Virginia and two of the three defendants are located there.
That district court is best situated to determine if Lora's action
is duplicative of a prior case or otherwise represents an abuse of
the judicial systenl in an attempt to harass the defendants.
Accordingly, the Court determines that it is in the interest of
justice for this case to be transferred rather than dismissed.

Therefore, il; is hereby ORDERED, pursuant ‘to 28 U.S.C. §

1406(a), that this case is TRANSFERRED, forthwith, to the Eastern

District of Virginia, at Alexandria.

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U ITED STATES DISTRICT JUDGE

 

ISTRICT COURT ESTENR ISRTOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02821 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Wilfredo G. Lora
FCI-l\/lEl\/lPH[S
42980-083

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Honorable Bernice Doneld
US DISTRICT COURT

